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      AO 245B-CAED(Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case       (NOTE: Identify Changes with Asterisks*)



                                    UNITED STATES DISTRICT COURT
                                                         Eastern District of California
                      UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                    (For Offenses Committed On or After November 1, 1987)
                                 v.
                            TAMMY CAO                                               Case Number: 2:14CR00024-001
                                                                                    Defendant's Attorney: Linda Harter, Assistant Federal Defender
       Date of Original Judgment:              June 12, 2014
       (Or Date of Last Amended Judgment)

       Reason for Amendment:
          Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                    Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                                      Modification of Imposed Term of Imprisonment for Extraordinary and
          Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                                      Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                      Modification of Imposed Term of Imprisonment for Radioactive Amendment
          Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))
                                                                                      (s) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
          Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)            Direct Motion to District Court Pursuant to    28 U.S.C. §2255,
                                                                                          18 U.S.C. §3559(c)(7),      Modification of Restitution Order
      THE DEFENDANT:
           pleaded guilty to count(s) 2 of the Information.
           pleaded nolo contendere to count(s)      which was accepted by the court.
           was found guilty on count(s)     after a plea of not guilty.
      ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                                            Date Offense            Count
       Title & Section                         Nature Of Offense
                                                                                                                            Concluded               Number
                                               Theft of Government Property
       18 USC § 641                                                                                                         2/1/2009                2
                                               (CLASS A MISDEMEANOR)

             The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
      Sentencing Reform Act of 1984.

           The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
           Count (s) 1, 3-11 are dismissed on the motion of the United States.
           Indictment is to be dismissed by District Court on motion of the United States.
           Appeal rights given.                              Appeal rights waived.

              IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
      change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
      fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
      economic circumstances.
                                                                                    6/4/2014
                                                                                    Date of Imposition of Judgment




                                                                                    Signature of Judicial Officer
                                                                                    Kendall J. Newman, United States Magistrate Judge
                                                                                    Name & Title of Judicial Officer
                                                                                    6/13/2014
                                                                                    Date




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      AO 245B-CAED(Rev. 09/2011) Sheet 4 - Probation
      DEFENDANT:TAMMY CAO                                                                                                               Page 2 of 5
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                                                            COURT PROBATION
       The defendant is hereby sentenced to court probation for a term of:
       thirty-six months.

       The defendant shall not commit another federal, state or local crime.

       The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
       substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two (2) periodic drug tests
       thereafter, not to exceed four (4) drug tests per month.

            The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
            substance abuse.

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

            The defendant shall cooperate in the collection of DNA as directed by the probation officer.

            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
            seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
            she resides, works, is a student, or was convicted of qualifying offense.

            The defendant shall participate in an approved program for domestic violence.

       If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
       with the Schedule of Payments sheet of this judgment.

       The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
       conditions on the attached page.




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      AO 245B-CAED(Rev. 09/2011) Sheet 4 - Probation
      DEFENDANT:TAMMY CAO                                                                                                            Page 3 of 5
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                                                SPECIAL CONDITIONS OF PROBATION
       1.      The defendant shall pay a special assessment of $25.00;
       2.      The defendnat shall pay $10,786.00 as restitution to the Sacramento Housing and Redevelopment Agency within six months
               from the date of conviction;
       3.      The defendant will be jointly and severally liable for the full amount of the restitution with her daughter Vanessa Pham;
       4.      The defendant shall not commit another federal, state or local crime;
       5.      The defendant shall not unlawfully possess a controlled substance, including medicinal marijuana;
       6.      The defendant shall refrain from any unlawful use of a controlled substance, including medicinal marijuana;
       7.      The defendant shall notify the U.S. Attorney's Office within seventy-two hours of being arrested;
       8.      The defendant shall notify the U.S. Attorney's Office ten days prior to any change in residence.




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      AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
      DEFENDANT:TAMMY CAO                                                                                                               Page 4 of 5
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                                                    CRIMINAL MONETARY PENALTIES

                The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                                   Assessment                        Fine               Restitution
                TOTALS                                                $25                                               $10,786.00
            The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
            after such determination.

            The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
            otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
            victims must be paid before the United States is paid.

       Name of Payee                                               Total Loss*       Restitution Ordered Priority or Percentage
       Sacramento Housing and Redevelopment
                                                                      $10,786.00                  $10,786.00
       Agency
       Totals                                                         $10,786.00                  $10,786.00
            Restitution amount ordered pursuant to plea agreement $ 10,786.00

            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
            the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
            subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the            fine      restitution

                    The interest requirement for the           fine       restitution is modified as follows:


            If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
            through the Bureau of Prisons Inmate Financial Responsibility Program.

            If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
            shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
      *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.




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      AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
      DEFENDANT:TAMMY CAO                                                                                                                  Page 5 of 5
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                                                           SCHEDULE OF PAYMENTS
              Payment of the total fine and other criminal monetary penalties shall be due as follows:

       A.              Lump sum payment of $             due immediately, balance due
                             Not later than      , or
                             in accordance          C,       D,      E,or       F below; or
       B.              Payment to begin immediately (may be combined with               C,       D,    or    F below); or

       C.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of          (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.              Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                       years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.              Payment during the term of supervised release will commence within     (e.g. 30 or 60 days) after release from
                       imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at that
                       time; or

       F.              Special instructions regarding the payment of crimimal monetary penalties:

                           Payments must be made by Check or Money Order, payable to: Clerk, U.S.D.C. and mailed to:
                              CLERK U.S.D.C.
                              501 "I" Street, #4-200
                              Sacramento, CA 95814
                       Your check or money order must indicate your name and citation/case number shown above to ensure your account
                       is credited for payment received.
                       The defendant shall pay the restitution amount ordered within sox months of the date of conviction.
       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
       due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
       Inmate Financial Responsibility Program, are made to the clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

               Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate:
       Tammy Cao (1) and Vanessa Pham (2) are jointly and sevarally liable to pay the full restitution amount ordered totaling $10,786.00.
               The defendant shall pay the cost of prosecution.

               The defendant shall pay the following court cost(s):

               The defendant shall forfeit the defendant's interest in the following property to the United States:

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
       (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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